     5:17-cv-02884-DCC-KDW             Date Filed 10/25/17          Entry Number 4    Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                      ROCK HILL DIVISION


Junior Kiker,                                              )
                                                           )   Civil Action No.: __________________
          Plaintiff,                                       )
                                                           )       [C.A. No.: 2017-CP-29-00871]
v.                                                         )
                                                           )
Lancaster County, Barry Faile, Individually,               )       ANSWER ON BEHALF OF
and/or in his official capacity as Sheriff of              )            DEFENDANTS
Lancaster County; Quintin Smith, in his                    )         (Jury Trial Demanded)
individual and/or in his official capacity as              )
employee of Lancaster County; Richard Plyler,              )
in his individual and/or in his official capacity as       )
employee of Lancaster County,                              )
                                                           )
          Defendants.                                      )
                                                           )

        The Defendants answer the Complaint of the Plaintiff as follows:

                                     FOR A FIRST DEFENSE

        1.      The Plaintiff has failed to properly serve this action pursuant to Rule 4, FRCP,

and therefore, this action must be dismissed pursuant to Rule 12(b)(1), (2), (4) and (5) FRCP.

The Defendants reserve the right to file a motion on this basis.

                                    FOR A SECOND DEFENSE

        2.      Defendant Lancaster County is not a proper party to this action, as it does not

operate the Lancaster County Detention Center, and therefore, this Defendant must be dismissed

pursuant to the South Carolina Tort Claims Act, S.C. Code Ann. §15-78-70, as well as Rule

12(b)(6) FRCP. The Defendants reserve the right to file a motion on this basis.




                                                       1
   5:17-cv-02884-DCC-KDW             Date Filed 10/25/17      Entry Number 4      Page 2 of 7




                                   FOR A THIRD DEFENSE

          3.    The Plaintiff has failed to state facts sufficient to constitute any claim against

these Defendants, and therefore, this action must be dismissed against all Defendants pursuant to

Rule 12(b)(6) FRCP.

                                  FOR A FOURTH DEFENSE

          4.    The Plaintiff was more negligent as a matter of law, and therefore, this action

must be dismissed against these Defendants.

                                    FOR A FIFTH DEFENSE

          5.    Defendant Barry Faile, in his individual capacity, is not a proper Defendant

pursuant to the South Carolina Tort Claims Act, S.C. Code Ann. §15-78-70, and therefore, must

be dismissed.

                                   FOR A SIXTH DEFENSE

          6.    These Defendants deny each and every allegation of the Plaintiff’s Complaint not

hereinafter specifically admitted, qualified, or explained.

          7.    As to paragraph 1 of the Plaintiff’s Complaint, these Defendants admit only that

the Plaintiff was an inmate serving time in the South Carolina Department of Corrections, who

was brought to the Lancaster County Detention Center for a hearing. These Defendants deny all

other allegations, and specifically deny any allegations that assert any wrongdoing or liability on

part of these Defendants.

          8.    These Defendants deny paragraphs 2, 3, and 4 of the Plaintiff’s Complaint, as

stated.




                                                  2
   5:17-cv-02884-DCC-KDW             Date Filed 10/25/17     Entry Number 4          Page 3 of 7




       9.      As to paragraph 5 of the Plaintiff’s Complaint, these Defendants admit only that

the Plaintiff was in a cell at the Lancaster County Detention Center with two other detainees. As

for the remaining allegations, these Defendants deny those allegations, as stated.

       10.     These Defendants deny paragraphs 6, 7, 8, 9, 10, 11, 12, and 13 of the Plaintiff’s

Complaint.

       11.     These Defendants deny paragraphs 14 and 15 of the Plaintiff’s Complaint.

       12.     As to paragraph 16 of the Plaintiff’s Complaint, these Defendants reassert and

reallege all assertions, allegations, and defenses.

       13.     These Defendants deny paragraphs 17 and 18 of the Plaintiff’s Complaint.

       14.     As to paragraph 19 of the Plaintiff’s Complaint, these Defendants reassert and

reallege all assertions, allegations, and defenses.

       15.     These Defendants deny paragraphs 20, 21, 22, 23, 24, and 25 of the Plaintiff’s

Complaint.

       16.     As to paragraph 26 of the Plaintiff’s Complaint, these Defendants reassert and

reallege all assertions, allegations, and defenses.

       17.     These Defendants deny paragraphs 27 and 28 of the Plaintiff’s Complaint.

       18.     These Defendants deny the Plaintiff is entitled to the relief requested in the

Complaint, or any other relief against these Defendants.

                                  FOR A SEVENTH DEFENSE

       19.     The Plaintiff cannot seek punitive damages against these Defendants pursuant to

the common law of South Carolina or S.C. Code Ann. § 15-33-135, and therefore, all such

claims must be stricken from the Plaintiff’s Complaint. Additionally, punitive damages are




                                                  3
   5:17-cv-02884-DCC-KDW             Date Filed 10/25/17      Entry Number 4        Page 4 of 7




explicitly excluded pursuant to the South Carolina Tort Claims Act, S.C. Code Ann. §15-78-

120(b).

                                  FOR AN EIGHTH DEFENSE

          20.   The Plaintiff cannot seek joint and several liability, and therefore, all such claims

must be stricken from the Plaintiff’s Complaint.

                                    FOR A NINTH DEFENSE

          21.   The Plaintiff has failed to state a cause of action pursuant to the South Carolina

Constitution, and therefore, the Plaintiff’s Fourth Cause of Action must be stricken from the

Plaintiff’s Complaint.

                                   FOR A TENTH DEFENSE

          22.   These Defendants, as agents of the Sheriff of Lancaster County, are not “persons”

within the meaning of the term as used in 42 U.S.C. § 1983, and therefore, are not subject to suit.

                                FOR AN ELEVENTH DEFENSE

          23.   These Defendants, in their official capacities, are immune from suit pursuant to

the Eleventh Amendment of the United States Constitution.

                                 FOR A TWELFTH DEFENSE

          24.   These Defendants were acting in good faith and within the scope of their official

duties as officials of the State of South Carolina, and therefore, are immune from suit.

                               FOR A THIRTEENTH DEFENSE

          25.   These Defendants are governmental officials performing discretionary functions

and actions, which could reasonably have been thought consistent with the rights of the Plaintiff,

and therefore, these Defendants are entitled to immunity as a matter of law.




                                                   4
   5:17-cv-02884-DCC-KDW            Date Filed 10/25/17     Entry Number 4       Page 5 of 7




                              FOR A FOURTEENTH DEFENSE

       26.     These Defendants were acting as employees, officers, and officials of the State of

South Carolina while engaged in the performance of their official duties, and therefore, are

immune from liability and cannot be sued without an express waiver of sovereign immunity.

                                  FOR A FIFTEENTH DEFENSE

       27.     These Defendants assert the principal of respondeat superior does not apply to

actions brought pursuant to 42 U.S.C. 1983, and therefore, any such claims must be stricken

from the Plaintiff’s Complaint.

                                  FOR A SIXTEENTH DEFENSE

       28.     These Defendants’ actions were at all times objectively reasonable under the

existing law, and therefore, these Defendants are entitled to immunity.

                             FOR A SEVENTEENTH DEFENSE

       29.     These Defendants at no time violated any clearly established constitutional rights,

which were known or should have been known to him, and therefore, these Defendants are

entitled to immunity.

                             FOR AN EIGHTEENTH DEFENSE

       30.     The Plaintiff cannot seek punitive damages against these Defendants pursuant to

the South Carolina Tort Claims Act, public policy, as well as the South Carolina United States

Constitution, and therefore, all claims for punitive damages must be stricken from the Plaintiff’s

Complaint.




                                                5
   5:17-cv-02884-DCC-KDW              Date Filed 10/25/17   Entry Number 4       Page 6 of 7




                                 FOR A NINTEENTH DEFENSE

        31.     As to any state law cause of action, the individual Defendants are immune from

suit pursuant to the South Carolina Tort Claims Act, S.C. Code Ann. §15-78-70, and therefore,

must be dismissed.

                                FOR A TWENTIETH DEFENSE

        32.     As to any state law cause of action, these Defendants allege, upon information

and belief, that any injuries or damages allegedly suffered by the Plaintiff, without admitting

same to be true, were due to and caused entirely by the negligence of the Plaintiff or the

Plaintiff's negligence which is more than these Defendants’ negligence, and that such is a

complete bar to the Plaintiff's recovery herein.       Further, these Defendants allege, upon

information and belief, that if the Plaintiff's negligence was less than these Defendants’

negligence, that such negligence should be compared to that negligence of these Defendants, so

as to apportion the relative fault as to each party.

                              FOR A TWENTY-FIRST DEFENSE

        33.     As to any state law cause of action, these Defendants allege, upon information

and belief, that any injuries or damages allegedly suffered by the Plaintiff, without admitting

same to be true, were due to and caused by the sole negligence, recklessness, willfulness,

wantonness, carelessness, and gross negligence of the Plaintiff and were not caused by these

Defendants, which sole negligence of the Plaintiff is a complete bar to the Plaintiff's attempt to

recover from these Defendants.

                             FOR A TWENTY-SECOND DEFENSE

        34.     Any state law cause of action is barred by the immunity section of the South

Carolina Tort Claims Act. S.C. Code Ann. § 15-78-60 (4), (5), (6) and (25).



                                                   6
   5:17-cv-02884-DCC-KDW             Date Filed 10/25/17     Entry Number 4        Page 7 of 7




                              FOR A TWENTY-THIRD DEFENSE

       35.     As to any state law cause of action, these Defendants are merely the alter ego of

the State of South Carolina, and therefore, are entitled to sovereign immunity from suit,

including but not limited to statutory caps on damages pursuant to the South Carolina Tort

Claims Act, S.C. Code Ann. § 15-78-120(a).

                            FOR A TWENTY-FOURTH DEFENSE

       36.     The Plaintiff has failed to exhaust his administrative remedies as may be

available, and therefore, this action must be dismissed.

                              FOR A TWENTY-FIFTH DEFENSE

    37. The Plaintiff’s claims are barred in whole or in part, by the Prison Litigation Reform Act.

       WHEREFORE, having fully answered the Complaint of the Plaintiff, the Defendants pray

that the Complaint be dismissed with prejudice, for the costs of this action, and for such other and

further relief as the Court deems just and proper.

                                               DAVIDSON & LINDEMANN, P.A.


                                            BY:       s/ James M. Davis, Jr.
                                              JAMES M. DAVIS, JR.           Fed #6333
                                              1611 Devonshire Drive, Second Floor
                                              Post Office Box 8568
                                              Columbia, South Carolina 29202
                                              T: 803-806-8222
                                              F: 803-806-8855
                                              E-Mail: jdavis@dml-law.com

                                               Counsel for Defendants

Columbia, South Carolina

October 25, 2017




                                                     7
